Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 1 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 1of15

Ten Post Office Square
8th Floor South PMB #706

Consovoy McCarthy Park uc Boston, MA 02109
617.227.0548

www.consovoymccarthy.com

January 27, 2016

Hon. Allison D. Burroughs

U.S. District Court, District of Massachusetts
John Joseph Moakley U.S. Courthouse

1 Courthouse Way, Suite 2300

Boston, MA 02210

Re: Students for Fair Admissions, Inc. v. President & Fellows of Harvard College,
No. 1:14-cv-14176-ADB

Dear Judge Burroughs,

Plaintiff Students for Fair Admissions, Inc. (“SFFA”) respectfully submits this letter
in advance of the status conference scheduled for this Thursday, January 28, 2016.
Currently before the Court are three main areas of dispute, which the parties have
previously briefed or on which they have reached an impasse after conferring as

required by L.R. 7.1(a)(2):

(1) The scope of permissible discovery pending the Supreme Court's decision in

Fisher v. University of Texas, No. 14-981 (“Fisher II”);

(2) Harvard’s misuse of the Stipulated Protective Order Regarding Disclosure
and Use of Discovery Materials entered by this Court on June 25, 2015 (the

“Protective Order”); and

(3) Harvard's refusal to provide a substantial amount of information from its
admissions database that appears on its face to be relevant to this litigation,
and which was the subject of the Court’s order of October 9, 2015 (the

“October 9 Order”).

As described below, Harvard appears to be avoiding compliance with the Court's
orders in an effort to obstruct and delay progress in this case. SFFA respectfully
requests that this Court scrutinize Harvard’s unreasonable and irresponsible
assertions of confidentiality, irrelevance, and privacy, and enforce (and/or amend)

the Protective Order and the October 9 Order.
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 2 of 15
Case 1:14-cv-14176-ADB Document118 Filed 01/27/16 Page 2 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 2

1. Scope of Discovery Pending the Fisher Stay

The Supreme Court heard oral argument in Fisher I] on December 9, 2015, and a
decision is expected by late June. Regardless of the outcome of that case, the facts
about how Harvard uses race in its admissions process will be central in this case.
Accordingly, there is no reason to delay inevitable discovery any further.1

Consistent with this understanding of the limited impact of Fisher II, the Court
stated in the October 9 Order that its inclination was “to allow discovery to proceed,
but not require Harvard to produce individual student or applicant files.” Pursuant
to this “general guideline,” SFFA submitted a proposal for discovery during the
Fisher stay that would allow the case to move forward. See Doc. No. 112. That
proposal included the following:

e Document Production. The parties should proceed with production of e-
mail and other document discovery, and continue producing documents
responsive to all pending requests. The relevant custodians and documents
detailing the manner in which Harvard uses race and treats Asian-American
applicants will not be affected by the decision in Fisher Il.

e Third-Party Discovery. Third-party discovery also should move forward
because it will be necessary regardless of the outcome of Fisher IJ. No party
will be prejudiced by such discovery moving forward, while SFFA’s
members are being harmed by unnecessary delay.

e Other Discovery. In light of the anticipated document discovery, SFFA is
willing to postpone party depositions until after Fisher IJ is decided. But
Harvard’s effort to seek depositions as to SFFA, while resisting depositions
of its own officials, is clearly improper and unfair, and should be rejected.?

Permitting the discovery outlined above will allow the parties to advance this case
while Fisher II is pending and limit the harm to those SFFA members whose window
to apply to Harvard is closing. In contrast, Harvard’s proposal to limit discovery to

 

1 As SFFA predicted last summer when Harvard filed its motion to stay this case,
Harvard has in other filings asserted that “[m]Jany of the specific arguments made by
petitioner are unique to the admissions policy of the University of Texas at Austin,” thus
confirming the limited impact any decision in Fisher IT is likely to have in this case. See Brief
for Amicus Curiae Harvard University in Support of Respondents, Fisher v. University of
Texas at Austin, No. 14-981, at 4 (filed Nov. 3, 2015).

2 Any questions concerning SFFA’s standing “are to be resolved much like any other
factual issue,” and “[t]he court must resolve any genuine disputed factual issue concerning
standing, either through a pretrial evidentiary proceeding or at trial itself.” Munoz-Mendoza
v. Pierce, 711 F.2d 421, 425-26 (1st Cir. 1983). Harvard may thus raise any standing issue at
the time the Court sets for dispositive motions, but there is no legal or practical basis for
subjecting SFFA to a unilateral discovery burden.
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 3 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 3 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 3

the handful of categories it has already provided would further stall this action in a
manner inconsistent with the intent of the October 9 Order.

2. Harvard's Misuse of the Protective Order

The limited document production to date suggests that Harvard is misusing the
Protective Order (a) to interfere with the ability of counsel for SFFA to share
discovery materials with its client and receive proper direction and client guidance
and (b) to assert indefensibly aggressive and inappropriate blanket confidentiality
designations for documents it has produced. The Court may “modify this Protective
Order at any time in the interests of justice and to ensure that any proceeding before
this Court is fair, efficient, and consistent with the public interest.” Protective Order
1. SFFA thus respectfully requests that the Court permit SFFA to bring its client
within the scope of the Protective Order and require Harvard to re-designate
documents consistent with the terms of the Protective Order.

First, pursuant to Section 6(f)(5)(vii) of the Protective Order, SFFA requests that the
Court authorize SFFA to share material designated as “HIGHLY CONFIDENTIAL-
ATTORNEY’S EYES ONLY” with one designated Client Representative, who will sign
the Protective Order and thus be fully bound by its provisions. Under the current
terms of the Protective Order, SFFA cannot share any information about material so
labeled with its client. Because the overwhelming majority of discovery produced to
date by Harvard is so labeled—including every entry from its admissions database,
which both parties expect to form the basis for substantial expert analysis in this
case—SFFA is unable to discuss critical issues and seek necessary direction from its
client. Further, unlike Harvard, SFFA has no in-house attorney who can access such
material under Section 6(f)(5) (ii). A minor accommodation is thus warranted.

In the hope of avoiding the need to involve the Court, SFFA requested that Harvard
simply consent to the designation of a single client representative from SFFA as an
authorized recipient of such information. Harvard has refused to do so on the sole
basis that that “SFFA agreed to the terms of the Protective Order knowing that [its
client] would not be permitted to view those materials.” Harvard’s Jan. 14, 2016
Letter at 2. Of course, SFFA had no reason to anticipate when entering into the
Protective Order the extent to which Harvard would abuse the “HIGHLY
CONFIDENTIAL-ATTORNEY’S EYES ONLY” designation. Harvard’s misuse of
confidentiality designations has thus contributed to the need to bring SFFA’s client
representative within the scope of the Protective Order. In any event, Section
6(f)(5)(vii) of the Order permits the parties or the Court to add additional
representatives who may receive such information at any time, and the Court
separately noted that the Protective Order may be modified “in the interests of
justice” and to ensure that proceedings are “fair, efficient, and consistent with the
public interest,”
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 4 of 15
Case 1:14-cv-14176-ADB Document118 Filed 01/27/16 Page 4 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 4

Second, Harvard has improperly over-designated the confidentiality of its discovery
materials. The Protective Order limits the “HIGHLY CONFIDENTIAL-ATTORNEYS’
EYES ONLY” designation to material that:

contains or reflects sensitive personal information or information that
is trade secret and/or commercially sensitive and that must be
protected from disclosure. Examples of such information or material
include trade secrets and other proprietary information; confidential
business information and practices; financial information; sensitive
personal information, including applicant and student information;
and material that a Party is under a pre-existing obligation to a non-
party to treat as personal or confidential.

Protective Order § 6(f)(1). Moreover, the Protective Order “does not confer blanket
protections on all disclosures during discovery” and therefore “[d]esignations under
this Order shall be made with care and shall not be made absent a good faith belief
that the designated material satisfies the criteria set forth herein.” Jd. § 2(b).

Harvard nonetheless has designated more than 80% of its document production so
far as “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY.” Examples of obvious
over-designation to date include:

e Harvard has designated I as “CONFIDENTIAL”

(see, e.g., HARV00000145, HARV00000202-205) or “HIGHLY CONFIDENTIAL
-ATTORNEY’S EYES ONLY” (see, e.g., HARV00000502-517).

e Harvard has, remarkably, designated ——a as “HIGHLY
CONFIDENTIAL- ATTORNEY’S EYES ONLY” (see, e.g., HARV00000186-196).

e Harvard also has designated the entirety of ee

as “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES
ONLY”—even though its own expert's publicly-filed declaration describes the
extent of the . See Decl. of Justin McCrary in Opp’n to
Mot. to Compel, Doc. No. 87, J] 32-36 (July 30, 2015).

e Harvard has designated approximately one-third of the deposition of its
Director of Admissions as “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES
ONLY’—meaning that those contents cannot be shared with anyone from
SFFA—and insists that the names of its admission officers be redacted from
all court filings, even those whose identities and roles are revealed in

Harvard’s published materials. See, e.g., http://news.harvard.edu/gazette/
story/2014/03/college-admits-class-of-18.

Harvard’s explanation for these designations is that any information regarding
Harvard’s admissions process “constitutes commercially sensitive information.”
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 5 of 15
Case 1:14-cv-14176-ADB Document118 Filed 01/27/16 Page 5 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 5

Harvard’s Jan. 14, 2016 Letter at 2. This expansive theory strains credulity.3 To take

just one example,

      
 

 
   

—it reveals nothing about whether or how
Harvard actually uses such information. In fact, much of this information should not
be treated as confidential at all; at most, some of it may be adequately protected
under the “CONFIDENTIAL” designation.

As noted above, Harvard’s blanket designation of the vast majority of discovery as
“HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY” is impeding SFFA’s ability to
provide its client with information upon which important strategic decisions
necessarily depend. Granting SFFA’s simple request to permit one client
representative to come under the Order would resolve the urgency of this issue,
although over-designation is subjecting SFFA to unnecessary and unreasonable
burdens in reviewing and challenging these designations, and ultimately threatens
to impede public access to the record in this case.*

Thus, SFFA respectfully requests that the Court order Harvard to re-designate the
documents described above. SFFA also requests that the Court order Harvard to log
each document from which it has redacted information, so that SFFA can assess
whether the redactions are consistent with the Protective Order and the interest in
public access.

 

3 Indeed, Harvard has repeatedly disclosed publically the details of its admissions
process. For example, Harvard’s own website includes a section entitled “What We Look
For,” which lists over 20 admissions criteria. See Harvard Admissions & Financial Aid, “What
We Look For,” https://goo.gl/dTQtwgq. That page also links to a five-part series in the New
York Times entitled “Guidance Office: Answers from Harvard’s Dean,” in which Dean
Fitzsimmons answered a broad range of questions about Harvard’s admissions process. See
William R. Fitzsimmons, Guidance Office: Answers from Harvard’s Dean, N.Y. Times (Sept. 10,
2009), http://goo.gl/muFbRr; see also, e.g., D. Rosenheck, Keys to the Kingdom, Boston
Magazine (Nov. 2005) (describing Harvard’s admissions process under Dean Fitzsimmons
and Marlyn McGrath), available at http://goo.gl/aEeeOT. These examples demonstrate the
weakness of Harvard’s assertion that anything touching on its admissions process is
appropriately designated as “HIGHLY CONFIDENTIAL-ATTORNEY’S EYES ONLY.”

4 Consistent with common practice and the Court’s express concerns, SFFA expects
that during dispositive briefing and/or trial redactions will be minimal. This is consistent
with the need for transparency when schools use race in admissions, Fisher v. Univ. of Texas,
133 S. Ct. 2411, 2420-21 (2013); Grutter v. Bollinger, 539 U.S. 306, 394 (2003) (Kennedy, J.,
dissenting), and prior cases, all of which were decided with an open record as to both the
mechanics and the alleged justifications for the use of race in admissions.
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 6 of 15
Case 1:14-cv-14176-ADB Document118 Filed 01/27/16 Page 6 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 6

3. Harvard’s Refusal To Produce Database Information

Finally, the parties disagree on the scope of Harvard’s obligation to produce
database information, consistent with this Court’s October 9 Order. In that Order,
this Court stated that “Harvard shall produce electronic admissions data (database
information) from its admissions database for the two most recent complete
admissions cycles, including identification of the database fields, and including
database information for transfer applicants.” October 9 Order at 2. Despite that
Order, Harvard continues to withhold substantial portions of those databases—
including the most basic information used in the admissions process, such as =
a aaa a description of honors or awards they have received, and
extracurricular activities in which they participated.

As the Court may recall, Harvard offered to produce its admissions database in lieu
of producing a statistically significant sample of application files—documents that
are clearly discoverable under the Federal Rules. SFFA then agreed to withdraw its
motion until it could review the database and determine the extent to which it might
lessen (or perhaps obviate altogether) the need for Harvard to produce the files
themselves. But after multiple rounds of letters and conversations over several
months, Harvard continues to refuse to provide dozens of clearly relevant database
fields. If Harvard’s recalcitrance is not addressed, SFFA will have no choice but to
renew immediately its request for a statistically significant sample of application
over the multi-year period this litigation involves.

First, Harvard has improperly withheld several fields based on its assertion that
these fields are not relevant. See Appendix A. The October 9 Order, however, did not
refer to the withholding of fields on relevance grounds, and indeed courts do not
look favorably upon the redaction of allegedly “irrelevant” material from relevant
documents (or, in this case, admissions databases).5

Second, Harvard has unreasonably withheld numerous fields on the purported basis
of vague “privacy objections’¢ despite SFFA’s efforts at accommodation, including:

 

5 See, e.g., Sexual Minorities of Uganda v. Lively, No. 12-30051, 2015 WL 4750931, at
*4, (D. Mass. Aug. 10, 2015) (“Redaction of documents that are responsive and contain some
relevant information should be limited to redactions of privileged information ....”); Reyes-
Santiago v. JetBlue Airways Corp., 932 F. Supp. 2d 291, 300 (D.P.R. 2013) (describing a

’ tts

party’s “instances of redacting documents on ‘relevance’ grounds” as “a dubious practice”).

6 After repeated requests from SFFA, Harvard eventually disclosed that it was
withholding more than 700 database fields based on alleged relevance and privacy grounds.
After a lengthy meet-and-confer process spanning more than a month, SFFA finally obtained
enough information from Harvard to limit its request for additional production to 314
fields. Harvard subsequently agreed to produce 18 of those fields, but refused to produce
the 296 fields listed in the appendices to this letter.
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 7 of 15
Case 1:14-cv-14176-ADB Document118 Filed 01/27/16 Page 7 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 7

e SFFA is not seeking any personally identifiable information (such as names,
SSNs, date of birth, home address, or email address) about Harvard
applicants or students (or family members), and SFFA long ago agreed not
to use any materials produced by Harvard in this case to attempt to identify
individual students without a Court Order. See Protective Order § 2(a).

e Neither FERPA nor any other law permits Harvard to shield from discovery
information that Harvard has about its own employees, high school
teachers, guidance counselors, alumni interviewers, and authors of
recommendation letters. (Even so, SFFA is not seeking telephone numbers,
e-mail addresses, or other contact information associated with these non-
student categories.)

e Any information produced from Harvard’s admissions database will receive
the full protections of the Protective Order.

e In the UNC litigation, the parties have worked cooperatively, and UNC has
already produced information about teachers and recommenders without
such redactions or protracted discovery disputes.

Notwithstanding all of these privacy accommodations, Harvard continues to claim
that it can withhold on privacy grounds hundreds of otherwise relevant database
fields. Many of these fields in fact raise no substantial privacy concerns, and even if
they did, the agreed-upon removal of personally-identifying information and the
terms of the Protective Order are more than adequate to address them. Specifically:

e Harvard has refused to produce information about its applicants, much of

which on its face appears to contain information that is obviously relevant to
the admissions decision—such 2S I

honors received, and extracurricular activities. See Appendix B.
Notably, Harvard’s own expert previously emphasized to this Court that the
database would suffice for SFFA’s purposes because it contained information
“for each extracurricular activity that an applicant reports on his or her
application (up to a maximum of twelve),” including “fields identifying the
type of activity (for example, School Newspaper/Journalism)” and “the
applicant’s role (for example, Editor-in-Chief).” See Decl. of Justin McCrary in
Opp’n to Mot. to Compel, Doc. No. 87, { 35. But Harvard continues to
withhold precisely those fields (among many others).’

 

7 Harvard has defended its failure to abide by the Court's order to produce its
admissions database by claiming that this material should not be produced while Fisher IJ is
pending—an argument that was rejected by the Court in its October 9 Order, which
required production of this material notwithstanding the pendency of Fisher IJ. Harvard
also has claimed the right to withhold this information out of concern that some of it could
theoretically be used to determine the personal identity of individual applicants—a claim
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 8 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 8 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 8

e Harvard continues to withhold information regardin

information that could not be more relevant to this

 

case. See Appendix C.

e Harvard has refused to produce any database information about |
NT sec Appendix

D. This information could actually be used to narrow the scope of any third-
arty discovery to
and thus are the most

pertinent witnesses with respect to the role race has in admissions decisions.
See Compl. JJ 252-61, 266-68, 277.

e Finally, Harvard still refuses to produce any information about its alumni
interviewers
—which again

could be used to reduce the number of names that Harvard must provide. See
Appendix E. This Court already has received briefing on this issue as part of
SFFA’s prior Motion to Compel. See Doc. Nos. 64, 86, 94.

The admissions database fields identified in the Appendices all appear to contain
information relevant to Harvard’s admissions process and issues in this case.
Certainly, Harvard has provided no explanation that justifies withholding these
fields on “privacy” grounds, particularly given its removal of personally identifying
information and the terms of the Protective Order itself. Harvard should be required
to produce the information in the database fields listed in the appendices. At base,
Harvard must fulfill its discovery obligations under the accommodation it sought in
order to delay or obviate production of admissions files.

Conclusion

Regrettably, Harvard's dilatory tactics have continued for months and have impeded
meaningful progress in this case. Thus, in addition to the specific relief described
above, SFFA respectfully requests regular status conferences and close judicial
supervision of the discovery process. Furthermore, SFFA respectfully requests that
this Court issue a new scheduling order, resetting all deadlines in the initial
scheduling order, following the resolution of Fisher Il.

Respectfully submitted,

/s/ Patrick Strawbridge

 

that is meritless in light of SFFA’s agreement not to make such use of materials produced in
this action without an order from the Court. See Protective Order § 2(a).
cc:

Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 9 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 9 of 15

William S. Consovoy, Esq.

Paul M. Sanford, Esq.
Seth P. Waxman, Esq.
Felicia Ellsworth, Esq.

Hon. Allison D. Burroughs
January 27, 2016
Page 9
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 10 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 10 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 10

APPENDIX A: DATABASE FIELDS WITHHELD BASED ON “RELEVANCE”

 

 

 
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 11 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 11 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 11

APPENDIX B: DATABASE FIELDS ABOUT INDIVIDUAL APPLICANTS
WITHHELD ON ALLEGED PRIVACY GROUNDS

 

=e

 

 

 

 
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 12 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 12 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 12

APPENDIX C: DATABASE FIELDS WITHHELD RELATING
WITHHELD ON ALLEGED PRIVACY GROUNDS

EE

 

 

 

 
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 13 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 13 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 13

APPENDIX D: DATABASE FIELDS RELATED TO [an

WITHHELD ON ALLEGED PRIVACY GROUNDS

 

 

 

 

 
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 14 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 14 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 14

APPENDIX E: DATABASE FIELDS RELATED TO ALUMNI INTERVIEWERS
WITHHELD ON ALLEGED PRIVACY GROUNDS

 

 

 

 

 

 
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 15 of 15
Case 1:14-cv-14176-ADB Document 118 Filed 01/27/16 Page 15 of 15

Hon. Allison D. Burroughs
January 27, 2016
Page 15

 

= x

 

 

 

 

 

4835-7522-1805.1
